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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

PETER C. RIZZO,

                            Plaintiff,

      v.                                                Index No.: 1:23-cv-00406

CLOVER GROUP, INC.,
CLOVER MANAGEMENT, INC.,
CLOVER CONSTRUCTION MANAGEMENT, INC.,
CLOVER CONSTRUCTION MANAGEMENT WEST
CORP.,
THE CARLYLE GROUP,
CARLYLE CLOVER PARTNERS, L.P.,
CARLYLE CLOVER PARTNERS 2, L.P.,
WELLTOWER, INC.,
WELL IBIS PORTFOLIO MEMBER, LLC,
WELLCLOVER VENUTRES, LLC,
WELLCLOVER HOLDINGS, LLC,
CLOVER COMMUNITIES FUND I, L.P.,
CLOVER COMMUNITIES FUND II, L.P.,
CLOVER COMMUNITIES FUND III, L.P.,
CLOVER COMMUNITIES FUND IV, L.P.,
CLOVER COMMUNITIES FUND V, L.P.,
CLOVER COMMUNITIES FUND V, LLC,
MICHAEL L. JOSEPH,
ALLISON H. JOSEPH PENDLETON,
RICHARD A. GREENSPAN,
ROBERT D. JACK, and
EMILY BRADY,

                            Defendants.



     NOTICE OF MOTION TO FILE DOCUMENTS UNDER SEAL


 Nature of Action:       Alleged violation of Fair Housing Act and employment
                         retaliation claims.
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Moving Party:           Defendants Clover Communities Fund IV, L.P. and Clover
                        Communities V, L.P. (“Defendants”).

Directed To:            Plaintiff Peter C. Rizzo.

Date and Time:          To be determined by the Court.

Place:                  United States District Court Western District of New York,
                        Buffalo Division, 2 Niagara Square, Buffalo, New York
                        14202.
Supporting Papers:      Memorandum of Law, dated September 6, 2023, Declaration
                        of Alexandria N. Rowen, with Exhibits, dated September 6,
                        2023.

Answering Papers:       Pursuant to Local Rule 7(b) are due within 14 days or as
                        otherwise directed by the Court. Defendants intend to file and
                        serve a reply.

Relief Requested:       An Order: (1) directing that the non-redacted FRCP 7.1 &
                        General Order 157 Disclosure Statements of Defendants
                        Clover Communities Fund IV, L.P. and Clover Communities
                        Fund V, L.P be filed under seal; (2) directing the Clerk not to
                        permit inspection of the sealed FRCP 7.1 & General Order
                        157 Disclosure Statements of Defendants Clover Communities
                        Fund IV, L.P. and Clover Communities Fund V, L.P. by the
                        Plaintiff, their counsel, or anyone else, unless directed by the
                        Court; and (3) authorizing Defendant Clover Communities
                        Fund IV, L.P. and Clover Communities Fund V, L.P. to
                        separately file their FRCP 7.1 & General Order 157
                        Disclosure Statements electronically on the public docket in
                        redacted form so as to conceal the identities of their respective
                        limited partners; and (4) whatever further and other relief the
                        Court deems just and equitable.

Grounds for Relief:     Federal Rule of Civil Procedure 5.2; Local Rules 5.2(f)(3),
                        5.3; W.D.N.Y. Administrative Procedures Guide. Plaintiffs’
                        counsel has repeatedly targeted non-parties through
                        disparaging and false social media posts and other harassment
                        in connection with this and at least one other pending legal
                        action. Given these circumstances, Defendants have a well-
                        grounded fear that disclosing their limited partners through
                        their W.D.N.Y. General Order # 157 Disclosure Statements
                        could subject these non-parties — who are not alleged to have
                        any involvement with any conduct alleged in the Complaint
                        — to annoyance, embarrassment, and oppression. To mitigate

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                               this substantial risk, the Court should therefore order
                               Defendants’ un-redacted General Order # 157 Disclosure
                               Statements to be filed under seal and prohibit their
                               dissemination to any person other than the Court.

  Oral Argument:               Requested.


Dated: September 6, 2023

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